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                    UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF LOUISIANA

DEEP SOUTH TODAY, d/b/a VERITE
NEWS, GANNETT CO., INC., GRAY
LOCAL MEDIA, INC., NEXSTAR                    CASE NO. 3:24-cv-00623-RLB-SDJ
MEDIA, INC., SCRIPPS MEDIA INC.,
and TEGNA INC.,

                   Plaintiffs,

      v.

LIZ MURRILL, in her official capacity
as Attorney General of Louisiana,
ROBERT P. HODGES, in his official
capacity as Superintendent of the
Louisiana State Police, and HILLAR C.
MOORE, III, in his official capacity as
District Attorney of East Baton Rouge
Parish,

                   Defendants.


            DECLARATION OF JAZMIN THIBODEAUX CHRETIEN

      I, Jazmin Thibodeaux Chretien, declare as follows:

      1.    I am over the age of 18. I make this declaration in support of

Plaintiffs’ Motion for Preliminary Injunction in the above-captioned matter. I have

personal knowledge of the matters stated herein.

      2.    I am a Senior Reporter at KATC in Lafayette, Louisiana, a broadcast

television station owned by Scripps Media Inc.




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      3.     Before joining KATC, I was a producer or multimedia reporter at

KLFY in Lafayette, KTBS in Shreveport, and News15 in Lafayette.

      4.     In my current role, I often come into close contact with law

enforcement officers, usually several times a month. When I interview officers, of

course, I stand right in front of them. And when I’m reporting on the activities of

law enforcement, I get close so that I can understand what is going on, ask

questions, and take photos.

      5.     As a part of my job as Senior Reporter, I often go to memorial

services, festivals, fairs, and crime scenes with large crowds and a number of law

enforcement officers at the scene. When reporting on these events, I take photos,

record audio, do live shots, write notes, and conduct interviews.

      6.     In Baton Rouge, I sometimes cover events at the state capitol that

draw a large law enforcement presence, like Governor Landry’s inauguration.

      7.     My colleagues at KATC and I are respectful of law enforcement and

careful not to interfere with anything they are doing, but we often need to be as

close as a few feet to record audio and put the mic as close as we can.

      8.     When I first heard about HB 173, I spoke about it with my colleagues

in the KATC newsroom. We were all concerned about what it might mean for us,

and we all worried that an officer might arrest us for our work. In my personal

experience, some officers sometimes have a problem with media doing their jobs.



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      9.       When discussing HB 173, my colleagues and I also agreed that we

could not accurately estimate twenty-five feet when reporting in the field.

      10.      I don’t carry a measuring tape on the job. If an officer tells me to

move to a particular area and says that it is twenty-five feet away, I have no good

way of knowing if he’s right or not. Without HB 173, I would insist on my rights

to gather news and record in public places in response to a request by a law

enforcement officer that was unreasonable under the circumstances. With HB 173,

I would comply to the best of my ability and stay a long distance away. I do not

want to be arrested for doing my job.

      11.      Reporting the news is already a tough job. If HB 173 goes into effect,

it will make it harder, and more dangerous, for me to do my job effectively.

      I declare under penalty of perjury that the foregoing is true and correct.

Executed on August ___, 2024 in Lafayette, Louisiana.

                                          _________________________

                                           Jazmin Thibodeaux Chretien


Prepared by:

Katie Townsend
Reporters Committee for Freedom of the Press
1156 15th St. NW Suite 1020
Washington, D.C. 20005




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